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 9                                     UNITED STATES DISTRICT COURT

10                                NORTHERN DISTRICT OF CALIFORNIA

11                                        SAN FRANCISCO DIVISION

12
      SOFTWARE RESEARCH, INC.,                           Case No. 18-cv-00232-EMC
13                                                          MODIFIED
                          Plaintiff,                     [PROPOSED] ORDER GRANTING
14                                                       DEFENDANT DYNATRACE LLC’S
              v.
15                                                       OPPOSED MOTION FOR
      DYNATRACE LLC,                                     ADMINISTRATIVE RELIEF FOR AN
16                                                       EXTENSION OF TIME TO SERVE
                 Defendant.                              INVALIDITY CONTENTIONS
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                   [PROPOSED] ORDER GRANTING DYNATRACE’S OPPOSED MOTION FOR ADMINISTRATIVE RELIEF
                                              CASE NO. 18-CV-00232-EMC
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